Case: 1:21-mj-00229

Assigned to: Judge Faruqui, Zia M

Assign Date: 2/12/2021

Description: COMPLAINT WIARREST WARRANT

STATEMENT OF FACTS

Your affiant, Cameron M. Heath, Jr., is a Special Agent with the Federal Bureau of
Investigation (FBI). I have been a Special Agent (SA) since September 2015. I am currently
assigned to the Springfield Resident Agency (SRA), Springfield, Missouri, of the FBI Kansas City
Division. In my duties as a Special Agent, I have participated in a wide variety of criminal
investigations, to include bank robbery, commercial robberies, drug and gang crimes, crimes
against children, white collar crimes, and other violent and non-violent crimes. Additionally, I
have participated in the preparation and/or execution of many searches and arrests. Currently, I am
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a Special Agent, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

PROBABLE CAUSE

The FBI became aware of the involvement of ZACHARY JOHN WILSON (WILSON)
(DOB XX/XX/1989), after an anonymous tip was provided indicating that WILSON, of
Springfield, Missouri, had posted on his Facebook account that he had entered the U.S. Capitol on
January 6, 2021, and that, while inside the Capitol, WILSON had entered Speaker of the House
Nancy Pelosi’s office. The anonymous tipster provided a screenshot of WILSON’s Facebook post,
which can be seen below. Your affiant discovered that WILSON’s Facebook account was either
disabled or deactivated at some point after this post.

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@ Zach Wilson
first ones in Hh

First thing we found was Pelosi's
olfice.

Like Reply

Zach Wilson you're lucky you
aren't in jail, That wasn't real
smart

Like Reply

© J
eee tddn do anything

wrong

Like Reply

On January 20, 2021, your affiant interviewed WILSON (DOB XX/XX/1989) at his
residence. During the interview, WILSON admitted to entering the U.S. Capitol, and that, while
inside the U.S. Capitol, he had entered the office of Speaker Pelosi. While inside Speaker Pelosi’s
office, WILSON recorded an approximately 18 second video, which WILSON provided to SA
Heath. WILSON stated the reason he entered the U.S. Capitol was because he wanted his “voice
to be heard” as he was a strong supporter of President Donald Trump. WILSON said that he did
not participate in any destruction of property while at the U.S. Capitol on January 6, 2021.

WILSON admitted to posting the 18 second video while inside Speaker Pelosi's office onto
his Facebook account, but he had since deleted said video and deactivated his Facebook account.
Wilson also admitted to posting to his Facebook account that he had entered the U.S. Capitol and
Speaker Pelosi’s office on January 6, 2021. WILSON said that on January 6, 2021, he was wearing
a red, white and blue “beanie” with “Trump” on it, and a red jacket, with a white surgical mask
covering his mouth and nose.

On January 23, 2021, the FBI received a DVD from the U.S. Capitol Police, which
contained surveillance video, showing WILSON walking inside the U.S. Capitol, on January 6,
2021. The surveillance video provided indicated that on January 6, 2021, at approximately 2:32
p.m., WILSON was walking down Hallway 227, which is the hallway where Speaker Pelosi’s

office is located. See the below surveillance image of WILSON (red jacket, white surgical mask
and red, white and blue beanie with “Trump”) in Hallway 227.

 

Based on the foregoing, your affiant submits that there is probable cause to believe that
WILSON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

Cameron M. Heath, Jr., Special Agent
Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 12th day of February 2021.
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ZIA M. FARUQUI
U.S. MAGISTRATE JUDGE
